        Case:17-11810-MER Doc#:39 Filed:06/04/17                              Entered:06/04/17 22:30:53 Page1 of 2
                                               United States Bankruptcy Court
                                                   District of Colorado
In re:                                                                                                     Case No. 17-11810-MER
Judith Jean Schneider                                                                                      Chapter 13
         Debtor
                                                 CERTIFICATE OF NOTICE
District/off: 1082-1                  User: admin                        Page 1 of 1                          Date Rcvd: Jun 02, 2017
                                      Form ID: 218ch13                   Total Noticed: 1


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on
Jun 04, 2017.
db             +Judith Jean Schneider,   4316 East 113th Place,   Thornton, CO 80233-2609

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
NONE.                                                                                       TOTAL: 0

             ***** BYPASSED RECIPIENTS *****
NONE.                                                                                                               TOTAL: 0

Addresses marked ’+’ were corrected by inserting the ZIP or replacing an incorrect ZIP.
USPS regulations require that automation-compatible mail display the correct ZIP.

Transmission times for electronic delivery are Eastern Time zone.


I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities in the manner
shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and belief.
Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed. R. Bank. P. 2002(a)(1), a notice containing the complete Social
Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains the redacted SSN as required
by the bankruptcy rules and the Judiciary’s privacy policies.
Date: Jun 04, 2017                                            Signature: /s/Joseph Speetjens

_

                                      CM/ECF NOTICE OF ELECTRONIC FILING

The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system on June 1, 2017 at the address(es) listed below:
              Chapter 13 Trustee - Zeman    on behalf of Trustee Sally Zeman mail@ch13colorado.com
              Michael J. Watton    on behalf of Debtor Judith Jean Schneider wlgdnvr@wattongroup.com
              Sally Zeman     mail@ch13colorado.com, szeman@ecf.epiqsystems.com
              Thomas A. Arany    on behalf of Debtor Judith Jean Schneider jdrewicz@wattongroup.com
              US Trustee   USTPRegion19.DV.ECF@usdoj.gov
                                                                                             TOTAL: 5
Case:17-11810-MER Doc#:39 Filed:06/04/17                        Entered:06/04/17 22:30:53 Page2 of 2
  (COB #218ch13 voNORStmtPFM_ch13)(12/15)




                     IN THE UNITED STATES BANKRUPTCY COURT
                                               District of Colorado,
                                            HONORABLE Michael E. Romero

  In re:
                 Judith Jean Schneider

  Debtor(s)
                                                            Case No.:       17−11810−MER
                                                            Chapter:        13
  SSN/TID
  Nos.    xxx−xx−0318


                                       NOTICE OF REQUIREMENT TO FILE A
                                    STATEMENT OF COMPLETION OF COURSE IN
                                       PERSONAL FINANCIAL MANAGEMENT

       Notice is hereby given that, subject to extremely limited exceptions, each debtor must complete an
  instructional course in personal financial management and file Official Form 423, "Debtor's Certification
  of Completion of Instructional Course Concerning Personal Financial Management," as evidence of
  course completion before a discharge can enter under chapter 13 (11 U.S.C. §1328) . This course is
  different from and in addition to the credit counseling course that the debtor(s) must complete prior to
  filing for bankruptcy relief. Official Form 423 is available on the U.S. Court's website at
  www.uscourts.gov/bkforms/bankruptcy_forms.html on the Form's page or may be picked up from the
  Clerk's Office at 721 19th St., Denver, Colorado.

       Debtor(s) and/or debtor(s)' attorney is/are hereby notified that the debtor(s) should have filed Official
  Form 423 within 60 days after the first date set for the meeting of creditors under Section 341. In a
  chapter 13 case, the form should be filed no later than the last payment made by the debtor as required by
  the plan under §1328(b) of the Code. In the event the certification is not filed, the case will be closed
  without an entry of discharge.

       If the case is closed because of failing to file Official Form 423, the case cannot be reopened
  without full payment of the reopening fee. If the debtor(s) want a discharge, they must first ask the Court
  to reopen the case by filing a Motion to Reopen the case accompanied by the payment of the filing fee
  which is $235 for motions to reopen filed on and after January 1, 2007. After the case is reopened, the
  debtor(s) must then file Official Form 423 evidencing completion of an instructional course concerning
  personal financial management in order to receive a discharge. If the debtor(s) fail(s) to file Official Form
  423 within 30 days after the case is reopened, then the case will again be closed without the entry of a
  discharge.


  Dated: 6/1/17                                          FOR THE COURT:
                                                         KENNETH S. GARDNER, Clerk
                                                         United States Bankruptcy Court
                                                         U.S. Custom House
                                                         721 Nineteenth Street
                                                         Denver, CO 80202−2508
